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                   Case: 1:22-cv-04049   Document #: 1-2 Filed: 08/03/22 Page 1 of 1 PageID #:17



                                                                                         53 W. Jackson Blvd.
         BILLHORN                                                                                 Suite 1137
             LAW                                                                           Chicago, IL 60604
               FIRM                                                                            312-853-1450




                                      CONSENT TO BE PARTY-PLAINTIFF

                                                                                                (Costner)
                 This CONSENT TO BE PARTY-PLAINTIFF, executed by Plaintiff ______________________________,

         hereby authorizes the Billhorn Law Firm to pursue back wages and other relief against ROUNDY’S

                                                                                                 (Costner)
         ILLINOIS, LLC.,          D/B/A   MARIANO’S, and by the signature below, ______________________,

         hereby consents to be a Party-Plaintiff in said lawsuit.


         __________________________
         CLIENT’S SIGNATURE
                  
         DATE: _________________




                                                       PAGE 1 OF 1
